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                        IN THE UNITED STATES DISTRICT COURT,
                         DISTRICT OF UTAH, CENTRAL DIVISION

 CAROLYN FORD

                 Plaintiff,                          ORDER GRANTING STIPULATED
 vs.                                                   MOTION TO DISMISS WITH
                                                             PREJUDICE
 BIG 5 CORP., a Delaware Corporation,
 W & G COMPANY, L.L.C., a Utah Limited
 Liability Company, John Does I – X, XYZ                  Case No. 2:16-CV-1188-EJF
 Corporations and/or Limited Liability
 Companies I – X.                                       Magistrate Judge Evelyn J. Furse

                 Defendants.



       This matter is before the court pursuant to the Stipulated Motion to Dismiss with

Prejudice which was stipulated to and jointly filed by the parties on January 4, 2017 (the

“Motion”). Having reviewed the stipulation of the Parties that they have resolved the

controversy between them, there appears good cause that the Motion should be GRANTED.

       IT IS HEREBY ORDERED, ADJUGED AND DECREED that the action styled above is

dismissed, with prejudice.



       DATED the 5th day of January, 2017.


                                                             BY THE COURT



                                                             Evelyn J. Furse
                                                             United States Magistrate Judge
